
Active Chiropractic, P.C., as Assignee of Chambers Jaren, Appellant, 
againstCountry-Wide Ins. Co., Respondent.




Petre and Zabokritsky, P.C. (Zachary Rozenberg, Esq.), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered December 1, 2014. The order, insofar as appealed from, denied the branch of plaintiff's motion seeking summary judgment upon so much of the complaint as sought to recover upon a claim for the sum of $290.64 and granted the branch of defendant's cross motion seeking summary judgment dismissing that portion of the complaint.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. Plaintiff appeals from so much of an order of the Civil Court as denied the branch of plaintiff's motion seeking summary judgment upon so much of the complaint as sought to recover upon a claim for the sum of $290.64 and granted the branch of defendant's cross motion seeking summary judgment dismissing that portion of the complaint.
Contrary to plaintiff's contention, defendant established that, after receiving the $290.64 claim at issue, it had timely mailed initial and follow-up requests for written verification (see 11 NYCRR 65-3.5 [b]; 65-3.8 [l]; St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). As defendant demonstrated that it had not received the requested verification, and plaintiff did not show that the verification had been provided to defendant prior [*2]to the commencement of the action, the 30-day period within which defendant was required to pay or deny the claim did not begin to run (see 11 NYCRR 65-3.5 [c]; 65-3.8 [a]; Central Suffolk Hosp. v New York Cent. Mut. Fire Ins. Co., 24 AD3d 492 [2005]). Plaintiff's remaining contentions regarding the verification requested by defendant lack merit.
Accordingly, the order, insofar as appealed from, is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










